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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                             WESTERN DIVISION



  BRIAN CRESSLER,                           Case No. CV 19-06553-PSG (DFM)

           Petitioner,                      Order Accepting Final Report and
                                            Recommendation of United States
              v.                            Magistrate Judge

  ON HABEAS CORPUS,

           Respondent.


       Under 28 U.S.C. § 636, the Court has reviewed the First Amended
 Petition, the other records on file herein, and the Final Report and
 Recommendation of the United States Magistrate Judge. Further, the Court
 has engaged in a de novo review of those portions of the original Report and
 Recommendation to which objections have been made. The Court accepts the
 report, findings, and recommendations of the Magistrate Judge.
       IT IS THEREFORE ORDERED that Judgment be entered dismissing
 the First Amended Petition as untimely.


  Date: 1/8/21                              ___________________________
                                            PHILIP S. GUTIERREZ
                                            Chief United States District Judge
